






COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS




JESUS DELEON,


                            Appellant,


v.



THE STATE OF TEXAS,


                            Appellee.
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No. 08-09-00197-CR



Appeal from the


Criminal District Court No. 1


of Dallas County, Texas 


(TC# F05-71820-H) 



MEMORANDUM  OPINION


	Pending before the Court is a voluntary motion to dismiss filed by Appellant pursuant to
Tex.R.App.P. 42.2(a).  The motion is in compliance with Rule 42.2(a).  Accordingly, we grant
the motion and dismiss the appeal.



September 23, 2009

						DAVID WELLINGTON CHEW, Chief Justice


Before Chew, C.J., McClure, and Rivera, JJ.


(Do Not Publish)


